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 7

 8                  IN THE UNITED STATES DISTRICT COURT
 9
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
                             WESTERN DIVISION
10

11
     SYMBOLOGY INNOVATIONS, LLC,                 CASE NO.:
12
                        Plaintiff,
13                                               COMPLAINT FOR PATENT
     v.                                          INFRINGEMENT
14

15   MINDBODY, INC.
                                                 JURY TRIAL DEMANDED
16                      Defendant.
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                            COMPLAINT FOR PATENT INFRINGEMENT
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 1               ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT
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            1.    Symbology Innovations, LLC (“Symbology” or “Plaintiff”), by and
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     through its counsel, hereby brings this action for patent infringement against
 4
     MINDBODY, Inc. (“Mindbody” or “Defendant”) alleging infringement of the
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 6
     following validly issued patent (the “Patent-in-Suit”): U.S. Patent No. 8,424,752, titled

 7   “System and method for presenting information about an object on a portable electronic
 8   device” (the “’752 Patent”), attached hereto as Exhibit A.
 9
                                 NATURE OF THE ACTION
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            2.    This is an action for patent infringement arising under the United States
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     Patent Act 35 U.S.C. §§ 1 et seq., including 35 U.S.C. § 271.
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13
                                           PARTIES

14          3.    Plaintiff Symbology Innovations, LLC is a Texas company with its
15   principal place of business at 1400 Preston Road, Suite 400, Plano, TX 75093.
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            4.    On information and belief, Defendant MINDBODY, Inc. is a company
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     with a principle place of business at 651 Tank Farm Rd., San Luis Obispo, CA 93401
18
     and may be served through its registered agent CT Corporation System at 818 Seventh
19

20
     Street, STE 930, Los Angeles, CA 90017.

21                              JURISDICTION AND VENUE
22          5.    This lawsuit is a civil action for patent infringement arising under the
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     patent laws of the United States, 35 U.S.C. § 101 et seq. The Court has subject-matter
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     jurisdiction pursuant to 28 U.S.C. §§ 1331, 1332, 1338(a), and 1367.
25
            6.    The Court has personal jurisdiction over Defendant for the following
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     reasons: (1) Defendant is present within or has minimum contacts within the State of

28   California and the Central District of California; (2) Defendant has purposefully availed
                                               1
                               COMPLAINT FOR PATENT INFRINGEMENT
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 1   itself of the privileges of conducting business in the State of California and this district;
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     (3) Defendant has sought protection and benefit from the laws of the State of California;
 3
     and (4) Defendant regularly conducts business within the State of California and within
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     this district, and Plaintiff’s cause of action arises directly from Defendant’s business
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 6
     contacts and other activities in the State of California and in this district.

 7           7.    Defendant, directly and/or through intermediaries, ships, distributes, uses,
 8   offers for sale, sells, and/or advertises products and services in the United States, the
 9
     State of California, and this district including but not limited to the products which
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     contain the infringing ’752 Patent systems and methods as detailed below. Upon
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     information and belief, Defendant has committed patent infringement in the State of
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     California and in this district; Defendant solicits and has solicited customers in the State

14   of California and in this district; and Defendant has paying customers that are residents
15   of the State of California and this district and that use and have used Defendant’s
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     products and services in the State of California and in this district.
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             8.    Venue is proper in the Central District of California pursuant to 28 U.S.C.
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     §§ 1400(b). Defendant is headquartered in this district, has transacted business in this
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     district, and has directly and/or indirectly committed acts of patent infringement in this

21   district.
22
                                        PATENT-IN-SUIT
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             9.    The Patent-in-Suit teaches systems and methods for enabling a portable
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     electronic device (e.g., smartphone) to retrieve information about an object when the
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     object’s symbology (e.g. QR code) is detected.
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             10.   The invention disclosed in the Patent-in-Suit discloses inventive concepts
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 1   that represent significant improvements in the art and are not mere routine or
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     conventional uses of computer components.
 3
                                    ACCUSED PRODUCTS
 4
            11.   Defendant makes, uses, offers for sale and sells in the U.S. products,
 5

 6
     systems, and/or services that infringe the Patent-in-Suit, including, but not limited to

 7   certain products and services implementing QR code functionality as described in the
 8   Patent-in-Suit (collectively, the “Accused Products”).
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                                           COUNT I
10
                          (Infringement of U.S. Patent No. 8,424,752)
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12
            12.   Plaintiff incorporates by reference the allegations of paragraphs 1-11, the
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     same as if set forth herein.
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            13.   The ’752 Patent is valid, enforceable, and was duly and legally issued by
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16   the United States Patent and Trademark Office (“USPTO”) on April 23, 2013. The ’752

17   Patent is presumed valid and enforceable. See 35 U.S.C. § 282.
18          14.   Plaintiff is the owner by assignment of the ’752 Patent and possesses all
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     rights of recovery under the ’752 Patent, including the exclusive right enforce the ’752
20
     Patent and pursue lawsuits against infringers.
21
            15.   Without a license or permission from Symbology, Defendant has infringed
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23   and continues to infringe on one or more claims of the ’752 Patent—directly,

24   contributorily, and/or by inducement—by importing, making, using, offering for sale,
25   or selling products and devices that embody the patented invention, including, without
26
     limitation, one or more of the patented ’752 systems and methods, in violation of 35
27
     U.S.C. § 271.
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                                COMPLAINT FOR PATENT INFRINGEMENT
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 1          Direct Infringement
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            16.   Defendant has been and now is directly infringing by, among other things,
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     practicing all of the steps of the ’752 Patent, for example, through internal testing,
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     quality assurance, research and development, and troubleshooting. See Joy Techs., Inc.
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 6
     v. Flakt, Inc., 6 F.3d 770, 775 (Fed. Cir. 1993); see also 35 U.S.C. § 271 (2006). For

 7   instance, Defendant has directly infringed the Patent-in-Suit by testing, configuring,
 8   and troubleshooting the functionality of QR codes on its products and services.
 9
            17.   By way of example, Defendant has infringed and continues to infringe at
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     least one or more claims of the ’752 Patent, including at least Claim 1. Attached hereto
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     as Exhibit B is an exemplary claim chart detailing representative infringement of claim
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13
     1 of the Patent-in-Suit.

14          Induced Infringement
15          18.   Defendant has been and now is indirectly infringing by way of inducing
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     infringement by others and/or contributing to the infringement by others of the ’752
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     Patent in the State of California, in this judicial District, and elsewhere in the United
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     States, by, among other things, making, using, offering for sale, and/or selling, without
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     license or authority, products affixed with QR codes that require the accused

21   technology for intended functionality, testing, configuration, troubleshooting, and other
22   utilization. End users include, for example, customers, customers’ customers, retail
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     store personnel, and other third parties.
24
            19.   Defendant took active steps to induce infringement, such as advertising an
25
     infringing use, which supports a finding of an intention. See Metro-Goldwyn-Mayer
26

27
     Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932 (2005) (“[I]t may be presumed from

28   distribution of an article in commerce that the distributor intended the article to be used
                                                4
                                COMPLAINT FOR PATENT INFRINGEMENT
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 1   to infringe another's patent, and so may justly be held liable for that infringement").
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            20.   The allegations herein support a finding that Defendant induced
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     infringement of the ’752 Patent. See Power Integrations v. Fairchild Semiconductor,
 4
     843 F.3d 1315, 1335 (Fed. Cir. 2016) (“[W]e have affirmed induced infringement
 5

 6
     verdicts based on circumstantial evidence of inducement [e.g., advertisements, user

 7   manuals] directed to a class of direct infringers [e.g., customers, end users] without
 8   requiring hard proof that any individual third-party direct infringer was actually
 9
     persuaded to infringe by that material.”).
10
            Contributory Infringement
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            21.   On information and belief, Defendant contributorily infringes on
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     Symbology’s ’752 Patent. Defendant knew or should have known, at the very least with

14   the filing of this complaint as a result of its freedom to operate analyses, that third
15   parties, such as its customers, would infringe the ’752 Patent by implementing
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     Defendant’s QR code technology.
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            22.   On information and belief, Defendant’s implementation of the accused
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     functionality has no substantial non-infringing uses. See, e.g., Lucent Techs., Inc. v.
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     Gateway, Inc., 580 F.3d 1301, 1321 (Fed. Cir. 2009) (holding that the “substantial non-

21   infringing use” element of a contributory infringement claim applies to an infringing
22   feature or component, and that an “infringing feature” of a product does not escape
23
     liability simply because the product as a whole has other non-infringing uses).
24
            Willful Infringement
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            23.   On information and belief, the infringement of the ’752 Patent by
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     Defendant has been and continues to be willful. Defendant has had actual knowledge

28   of Symbology’s rights in the ’752 Patent and details of Defendant’s infringement based
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 1   on at least the filing and service of this complaint. Additionally, Defendant had
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     knowledge of the ’752 Patent and its infringement in the course of Defendant’s due
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     diligence and freedom to operate analyses.
 4
              Plaintiff Suffered Damages
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              24.   Defendant’s acts of infringement of the ’752 Patent have caused damage

 7   to Symbology, and Symbology is entitled to recover from Defendant the damages
 8   sustained as a result of Defendant’s wrongful acts in an amount subject to proof at trial
 9
     pursuant to 35 U.S.C. § 271. Defendant’s infringement of Symbology’s exclusive
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     rights under the ’752 Patent will continue to damage Symbology causing it irreparable
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     harm for which there is no adequate remedy at law, warranting an injunction from the
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     Court.

14                                  REQUEST FOR RELIEF
15            25.   Symbology incorporates each of the allegations in the paragraphs above
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     and respectfully asks the Court to:
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              (a)   enter a judgment that Defendant has directly infringed, contributorily
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              infringed, and/or induced infringement of one or more claims of each of the ’752
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20
              Patent;

21            (b)   enter a judgment awarding Symbology all damages adequate to
22            compensate it for Defendant’s infringement of, direct or contributory, or
23
              inducement to infringe, the including all pre-judgment and post-judgment
24
              interest at the maximum rate permitted by law;
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              (c)   enter a judgment awarding treble damages pursuant to 35 U.S.C. § 284 for
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              Defendant’s willful infringement of the ’752 Patent

28            (d)   issue a preliminary injunction and thereafter a permanent injunction
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                                 COMPLAINT FOR PATENT INFRINGEMENT
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 1        enjoining and restraining Defendant, its directors, officers, agents, servants,
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          employees, and those acting in privity or in concert with them, and their
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          subsidiaries, divisions, successors, and assigns, from further acts of
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          infringement, contributory infringement, or inducement of infringement of the
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 6
          ’752 Patent;

 7        (e)   enter a judgment requiring Defendant to pay the costs of this action,
 8        including all disbursements, and attorneys’ fees as provided by 35 U.S.C. § 285,
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          together with prejudgment interest; and
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          (f)   award Symbology all other relief that the Court may deem just and proper.
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12
     Dated: December 23, 2019             Respectfully submitted,
13
                                          /s/ Kirk J. Anderson
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                                          Attorney(s) for Plaintiff Symbology
                                          Innovations, LLC
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                             COMPLAINT FOR PATENT INFRINGEMENT
